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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ----------------------------------------------------------X
 ANTHONY MEDINA,                                           :                         12/29/2020
                                                           :
                                         Plaintiff,        :
                                                           :
                            -against-                      :          20-CV-3763 (VSB)
                                                           :
 CITY OF NEW YORK, et al.,                                 :               ORDER
                                                           :
                                          Defendants. :
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VERNON S. BRODERICK, United States District Judge:

        Given the upcoming holiday, I am adjourning the telephone conference scheduled for

December 30, 2020, until January 4, 2021, at 1:00 pm. The parties should use the dial in 1-888-

363-4749, and access code 2682448. The Court, however, does not want this conference to

interfere with Plaintiff’s potential transfer to Illinois.

        IT IS FURTHER ORDERED that the Warden or other official in charge of the Sullivan

Correctional Facility produce inmate Anthony Medina, DIN No. 99A2999, on January 4, 2021,

at 1:00 p.m., at a suitable location within the Sullivan Correctional Facility equipped with a

telephone, for purposes of participating in a conference by telephone with the Court and defense

counsel in the above-referenced matter.

        If this time and date presents an inconvenience, or interferes with Plaintiff’s potential

transfer, the Warden or the Warden’s designee should promptly inform Chambers by calling

(212) 805-6165.

        The Clerk of Court is respectfully directed to mail a copy of this Order to the Pro Se

Plaintiff.

SO ORDERED.
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Dated:    December 29, 2020
          New York, New York

                                           ______________________
                                           Vernon S. Broderick
                                           United States District Judge




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